Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 1 of 20




                                                                    
                                                                    
                                                                    
                                                                    
                                                Exhibit 
                                                              98 
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 2 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 3 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 4 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 5 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 6 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 7 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 8 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 9 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 10 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 11 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 12 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 13 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 14 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 15 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 16 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 17 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 18 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 19 of 20
Case 2:18-cv-02682-ER Document 1-114 Filed 06/26/18 Page 20 of 20
